       IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
                  OF TENNESSEE AT GREENEVILLE. TENNESSEE


 TINA NORRIS, MELISSA BLEVINS and          *
 APRIL YARBER, surviving children and next *
 kin of TERESA NORRIS; and APRIL YARBER*
 Administrator of the Estate of TERESA     *
 NORRIS,                                   *
                                                     *
                               Plaintiffs,           *
                                                     *
 vs.                                                 * Case No. 2:12-cv-00415
                                                     *
 MOUNTAIN STATES HEALTH ALLIANCE,                    *
 d/b/a THE TRANSPLANT CENTER at                      *
 JOHNSON CITY MEDICAL CENTER;                        * JURY DEMANDED
 BLUE RIDGE MEDICAL MANAGEMENT                       *
 CORPORATION, d/b/a BLUE RIDGE                       *
 SURGICAL ASSOCIATES; JOSEPH LEE,                    *
 M.D.; and JON JONES, M.D.,                          *
                                                     *
                               Defendants.           *


                               FIRST AMENDED COMPLAINT

         Come the Plaintiffs pursuant to Rule 15 of the Federal Rules of Civil Procedure and

 respectfully amend the Complaint filed in this cause on October 11, 2012 as follows:



 1. Paragraphs 1 -36 of the original Complaint are incorporated herein by reference.



 2. Page 1 of the "HIPPA Compliant Authorization for Release of Medical Information" attached

 hereto as part of this First Amended Complaint is substituted for page 1 of the "HIPPA

 Compliant Authorization for Release of Medical Information" filed on October 11, 2012.

 (Document 1-11 filed 10/11/12 Page 2 of 6 PageID#:64). Page 1 of the HIPPA form filed on




Case 2:12-cv-00415-JRG-DHI Document 3 Filed 10/25/12 Page 1 of 3 PageID #: 77
October 11, 2012 was filed in error. Page 1 of the HIPPA form attached as part of this First

Amended Complaint was, in fact, the HIPPA Authorization that was mailed with the Notice

Letters to the Defendants and other providers on June 13, 2012.



                                             RESPECTFULLY SUBMITTED,

                                             TINA NORRIS, MELISSA BLEVINS and
                                             APRIL YARBER, surviving children and next
                                             kin of TERESA NORRIS; and APRIL YARBER
                                             Administrator of the Estate of Teresa Norris


                                             BY:s/John S. Bingham, Esq., BPR6263

                                             Attorney for Plaintiffs

                                             HAWKINS BINGHAM & MILLER, PC
                                             1397 E. Center Street
                                             Kingsport, TN 37664

                                             423-246-9100 telephone
                                             423-246-9282 facsimile




Case 2:12-cv-00415-JRG-DHI Document 3 Filed 10/25/12 Page 2 of 3 PageID #: 78
                         HIPPA COMPLIANT
         AUTHORIZATION FOR RELEASE OF MEDICAL INFORMATION

 Patient:                        Birth Date:              Social Security No.
 TERESA NORRIS                     1/17/50                  XXX-XX-XXXX


 A. I hereby authorize any of the following listed providers to release information
 from my medical records to any other medical provider listed below:
 Joseph Lee, M.D.; Jon Jones, M.D.; Elvira Loria, M.D.; Mountain States
 Health Alliance, d/b/a The Transplant Center at JCMC; Mountain States
 Health Alliance, d/b/a Johnson City Medical Center; Mountain States
 Health Alliance, d/b/a Smyth County Community Hospital; Blue Ridge
 Medical Management Corporation, d/b/a Blue Ridge Surgical Associates;
 Drs. Green, P.C.; Medical Education Assistance Corporation, d/b/a ETSU
 Physicians & Associates

 B. For the following purpose: To be reviewed by said providers and his/her/their
 attorneys, agents or representatives.

 C. For treatment dates: 01/01/07 to 11/12/11

  D. Description of Information to be used.

    Copies of medical records regarding TERESA NORRIS in the possession
 of the medical providers listed above in Part A, including but not limited
 to, all medical records, meaning every page in the records, including but
 not limited to: office notes, face sheets, history and physical,
 consultation notes, impatient, outpatient and emergency room treatment,
 all clinical charts, reports, order sheets, progress notes, nurse's notes,
 social worker records, clinic records, treatment plans, admission records,
 discharge summaries, requests for and reports of consultations,
 documents, correspondence, test results, statements,
 questionnaires/histories, correspondence, photographs, telephone
 messages, and records received by other medical providers. All physical,
 occupational and rehab requests, consultations and progress notes. All
 autopsy, laboratory, histology, cytology, pathology, immunohisto-
 chemistry records and specimens; radiology records and films including
 CT scan, MRI, MRA, EMG, bone scan, myleogram; nerve condution study,
 echocardiogram and cardiac catheterization results, videos/CDs/ films/
 reels and reports. All pharmacy/prescription records. All billing records
 including all statements.

                                       Page 1



Case 2:12-cv-00415-JRG-DHI Document 3 Filed 10/25/12 Page 3 of 3 PageID #: 79
